                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

Case Number: 5:20-cv-006072-RK

NOTICE OF INCLUSION IN THE MEDIATION AND ASSESSMENT PROGRAM

This is notice that your case is included in the Western District of Missouri’s Mediation and
Assessment Program or “MAP.” For MAP requirements, including required in-person
attendance, carefully review the Court’s General Order attached.

Your case has been randomly assigned to the following category in MAP:

__X__ Outside Mediator

____ United States District or United States Bankruptcy Judge

____ Director of the Mediation and Assessment Program


OUTSIDE MEDIATOR ASSIGNMENT

If your case has been assigned to the Outside Mediator category, the parties have 14 calendar
days after the Rule 26 meeting to select an Outside Mediator, schedule the mediation and
file a Designation of Mediator (ADR event in ECF). The Designation of Mediator should
contain the name of the Outside Mediator, the date, time and place of the in-person mediation;
and it must be signed by or on behalf of each party. The mediation shall occur no later than 75
calendar days after the Rule 26 meeting.

The Mediator and parties (pro se or by counsel) shall submit a post-mediation status report
to the Director within 10 calendar days after the mediation (separately or jointly, and preferably
by email to map@mow.uscourts.gov). The report should state: how long the mediation lasted;
whether all required parties were present in person; the outcome of the mediation; and if the case
did not settle, whether additional settlement discussions would be productive and at what point in
time or after what specific events.

JUDGE ASSIGNMENT

If your case has been assigned to a Judge for mediation, you will be notified by the Judge’s
office of the date, time and place of a settlement conference. The mediation shall occur no later
than 75 calendar days after the Rule 26 meeting, unless otherwise scheduled by the Judge.

DIRECTOR ASSIGNMENT

If your case has been assigned to the Director of MAP for mediation, you will be notified by the
Director’s office of the date, time and place of either a teleconference or the mediation. The
mediation shall occur no later than 75 calendar days after the Rule 26 meeting, unless otherwise
scheduled by the Director.

           Case 5:20-cv-06072-RK Document 4 Filed 05/14/20 Page 1 of 2
MEDIATION

Mediation is a process in which a neutral third party assists the parties in developing and
exploring their underlying interests, legal positions, and options toward resolving the case
through negotiations. As a party to a lawsuit in this Court, you are entitled to pursue all claims
or defenses to claims that you have asserted until a disposition of the claims or defenses is made
by the Court or a jury. However, most of the lawsuits filed in this and other courts are resolved
by voluntary settlement of the parties before trial. With a settlement, the expense and
inconvenience of litigation is reduced and the uncertainty of the outcome is eliminated. Good
faith participation in MAP is required, but you are not required to settle the case. It is important
that you carefully review and evaluate your case prior to the mediation or other ADR option
session, and that you come prepared to discuss and negotiate the settlement of your case.

ATTENDANCE AT MEDIATION

Please note that lead trial counsel and all named parties are required to attend mediation in
person. In-person attendance of additional individuals is also required when applicable (e.g.
insurance company representatives). See Section V.E. of the General Order. The failure to
attend mediation or other ADR option session, or the refusal to cooperate or timely cooperate in
MAP, may result in the imposition of sanctions by the assigned Judge.

CONTINUING OBLIGATIONS

Inclusion in MAP does not relieve you of any obligations or deadlines that you have in this
lawsuit. If you have been served, you must file a timely response in order to avoid the risk of a
default judgment.

QUESTIONS

For questions concerning MAP requirements, please review the MAP General Order and the
MAP FAQs:

http://www.mow.uscourts.gov/district/map
http://www.mow.uscourts.gov/sites/mow/files/MAP_FAQs.pdf.

You may also contact the MAP office.

Mediation and Assessment Program
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                                                 2

           Case 5:20-cv-06072-RK Document 4 Filed 05/14/20 Page 2 of 2
